   Case: 1:16-cv-06654 Document #: 34 Filed: 08/26/16 Page 1 of 11 PageID #:248




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

GLEN ELLYN PHARMACY, INC.,                           )
on behalf of plaintiff and                           )
the class members defined herein,                    )
                                                     )
               Plaintiff,                            )       16 CV 6654
                                                     )       Judge Der-Yeghiayan
               v.                                    )       Magistrate Judge Schenkier
                                                     )
MAYNE PHARMA, INC.,                                  )
and JOHN DOES 1-10,                                  )
                                                     )
               Defendants.                           )

                    SECOND AMENDED COMPLAINT - CLASS ACTION

                                       INTRODUCTION

       1.      Plaintiff Glen Ellyn Pharmacy, Inc., brings this action to secure redress for the

actions of defendant Mayne Pharma, Inc., in sending or causing the sending of unsolicited

advertisements to telephone facsimile machines in violation of the Telephone Consumer

Protection Act, 47 U.S.C. §227 ("TCPA").

       2.      The TCPA expressly prohibits unsolicited fax advertising. Unsolicited fax

advertising damages the recipients. The recipient is deprived of its paper and ink or toner and the

use of its fax machine. The recipient also wastes valuable time it would have spent on something

else. Unsolicited faxes prevent fax machines from receiving and sending authorized faxes, cause

wear and tear on fax machines, and require labor to attempt to identify the source and purpose of

the unsolicited faxes.
   Case: 1:16-cv-06654 Document #: 34 Filed: 08/26/16 Page 2 of 11 PageID #:249




                                            PARTIES

       3.      Plaintiff Glen Ellyn Pharmacy, Inc., is an Illinois corporation with offices in Glen

Ellyn, Illinois, where it maintains telephone facsimile equipment.

       4.      Defendant Mayne Pharma, Inc., is a North Carolina corporation with principal

offices at 1240 Sugg Parkway, Greenville, North Carolina 27834. It is the U.S. subsidiary of

Mayne Pharma Group Limited, a public company headquartered in Australia.

       5.      John Does 1-10 are other natural or artificial persons that were involved in the

sending of the facsimile advertisements described below. Plaintiff does not know who they are.

                                JURISDICTION AND VENUE

       6.      ThisCourthasjurisdictionunder28U.S.C. §§1331and1367.              Mimsv.Arrow

Financial Services, LLC, 132 S. Ct. 740, 751-53 (2012); Brill v. Countrywide Home Loans, Inc.,

427 F.3d 446 (71h Cir. 2005).

       7.      Personal jurisdiction exists under 735 ILCS 5/2-209, in that Defendants:

               a.     Have committed tortious acts in Illinois by causing the transmission of

                      unlawful communications into the state.

               b.     Have transacted business in Illinois.

       8.      Venue in this District is proper for the same reason.

                                             FACTS

       9.      On June 16, 2016, Glen Ellyn Pharmacy, Inc., received the unsolicited fax

advertisement attached as Appendix A on its facsimile machine.

       10.     Discovery may reveal the transmission of additional faxes as well.

       11.     Defendant Mayne Pharma, Inc., is responsible for sending or causing the sending


                                                 2
   Case: 1:16-cv-06654 Document #: 34 Filed: 08/26/16 Page 3 of 11 PageID #:250




of the fax.

        12.    The fax advertised the commercial availability from Mayne Pharma, Inc., of

Dofetilide capsules, a generic version of a drug called Tikosyn.

        13.    Prior to June 7, 2016, Pfizer was the only source of the drug in the United States.

        14.    Pfizer and Mayne had been engaged in patent litigation concerning the drug,

which generated about $150 million in annual sales. In 2015, they reached a settlement allowing

Mayne to sell the generic version in the United States as soon as the Food & Drug

Administration ("FDA") approved it. (Appendix B)

        15.    On June 7, 2016, the FDA approved Mayne's generic version of the drug.

(Appendix C, Appendix D, Appendix E)

        16.    On information and belief, Mayne had the first generic version of the drug for sale

in the United States.

        17.    On information and belief, Mayne expected to receive and did in fact receive a

180-day exclusivity period as the first generic supplier of the drug in the United States.

(Appendix B, Appendix D, Appendix E)

        18.    It was therefore important for Mayne to switch as many patients as possible to its

generic version during that period.

        19.    Pharmacists have substantial ability to cause patients and physicians to

select a cheaper, generic version of a drug as opposed to the patented version. In fact, under state

law, a pharmacy has the right to substitute a generic drug unless the physician affirmatively

directs that one may not be substituted. E.g., 225 ILCS 85/25. The fax was thus sent to the party

who had the right to make the purchasing decision for the patient, for the purpose of causing


                                                  3
   Case: 1:16-cv-06654 Document #: 34 Filed: 08/26/16 Page 4 of 11 PageID #:251




selection of Mayne's generic product in lieu of Pfizer's non-generic product.

        20.     On information and belief, Mayne placed tremendous pressure on sales personnel

to switch patients to its generic product.

        21.     To generate immediate sales and get as much as possible of the $150 million in

annual sales of the drug, Mayne Pharma, Inc., instituted a promotional offer whereby it would

pay the patient copay for its drug. (Appendix F, Appendix G) It is this offer that is referenced in

the fax complained of (Appendix A).

        22.     To generate immediate sales, Mayne Pharma, Inc., sent out the fax at issue to

numerous persons and entities in the medical field, including plaintiff, announcing that it now

offered the drug and touting its promotional payment of the copay.

        23.     Defendant Mayne Pharma, Inc., as the entity who products or services were

advertised in the fax, derived economic benefit from the sending of the fax.

        24.     Defendant Mayne Pharma, Inc., either negligently failed to comply with the TCPA

in sending the faxes, or decided that the profits to be made from the drug warranted willfully

violating the rights of plaintiff and other recipients in sending the faxes.

        25.     Plaintiff had no prior relationship with defendant and had not authorized the

sending of fax advertisements to plaintiff.

        26.     Neither plaintiff nor anyone else in the United States had purchased the drug

advertised in Appendix A as of June 7, 2016, as it was not available.

        27.     On information and belief, the fax attached hereto was sent as part of a mass

broadcasting of faxes.

        28.     The fax does not contain an "opt out" notice that complies with 47 U.S.C. §227.


                                                   4
   Case: 1:16-cv-06654 Document #: 34 Filed: 08/26/16 Page 5 of 11 PageID #:252




        29.        The TCPA makes unlawful the "use of any telephone facsimile machine,

computer or other device to send an unsolicited advertisement to a telephone facsimile machine

... " 47 U.S.C. §227(b)(l)(C).

        30.        The TCPA provides for affirmative defenses of consent or an established business

relationship. Both defenses are conditioned on the provision of an opt out notice that complies

with the TCPA. Holtzman v. Turza, 728 F.3d 682 (7th Cir. 2013); Nackv. Walburg, 715 F.3d 680

(8th Cir. 2013).

        31.        On information and belief, defendant has transmitted similar unsolicited fax

advertisements to at least 40 other persons in Illinois.

        32.        There is no reasonable means for plaintiff or other recipients of Defendant's

unsolicited advertising faxes to avoid receiving illegal faxes. Fax machines must be left on and

ready to receive the urgent communications authorized by their owners.

                                           COUNT I - TCPA

        33.        Plaintiff incorporates~~ 1-32.

        34.        The TCPA makes unlawful the "use of any telephone facsimile machine,

computer or other device to send an unsolicited advertisement to a telephone facsimile machine

... " 47 U.S.C. §227(b)(l)(C).

        35.        The TCPA, 47 U.S.C. §227(b)(3), provides:

                   Private right of action.

                   A person or entity may, if otherwise permitted by the laws or rules of court
                   of a State, bring in an appropriate court of that State-

                          (A) an action based on a violation of this subsection or the regulations
                          prescribed under this subsection to enjoin such violation,


                                                    5
   Case: 1:16-cv-06654 Document #: 34 Filed: 08/26/16 Page 6 of 11 PageID #:253




                       (B) an action to recover for actual monetary loss from such a
                       violation, or to receive $500 in damages for each such violation,
                       whichever is greater, or

                       (C) both such actions.

               If the Court finds that the defendant willfully or knowingly violated this
               subsection or the regulations prescribed under this subsection, the court
               may, in its discretion, increase the amount of the award to an amount equal
               to not more than 3 times the amount available under the subparagraph (B) of
               this paragraph.

       36.     Plaintiff and each class member suffered damages as a result of receipt of the

unsolicited faxes, in the form of paper and ink or toner consumed as a result. Furthermore,

plaintiffs statutory right of privacy was invaded.

        37.    Plaintiff and each class member is entitled to statutory damages.

        38.    Defendant violated the TCPA even if its actions were only negligent.

        39.    Defendant should be enjoined from committing similar violations in the future.

                                     CLASS ALLEGATIONS

       40.     Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on behalf of

a class, consisting of (a) all persons with Illinois fax numbers (b) who, on or after a date four

years prior to the filing of this action (28 U.S.C. § 1658), (c) were sent faxes by or on behalf of

defendant Mayne Pharma, Inc., promoting its goods or services for sale (d) which did not contain

an opt out notice as described in 47 U.S.C. §227.

       41.     The class is so numerous that joinder of all members is impractical. Plaintiff

alleges on information and belief that there are more than 40 members of the class.

        42.    There are questions of law and fact common to the class that predominate over

any questions affecting only individual class members. The predominant common questions


                                                  6
   Case: 1:16-cv-06654 Document #: 34 Filed: 08/26/16 Page 7 of 11 PageID #:254




include:

               a.      Whether Defendant engaged in a pattern of sending unsolicited fax

                       advertisements;

               b.      The manner in which Defendant compiled or obtained its list of fax

                       numbers;

               c.      Whether Defendant thereby violated the TCPA;

       43.     Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has

retained counsel experienced in handling class actions and claims involving unlawful business

practices. Neither plaintiff nor plaintiffs counsel have any interests which might cause them not

to vigorously pursue this action.

       44.     Plaintiffs claims are typical of the claims of the class members. All are based on

the same factual and legal theories.

       45.     A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of class members in individually controlling the prosecution of

separate claims against Defendants is small because it is not economically feasible to bring

individual actions.

       46.     Numerous courts have certified class actions under the TCP A. Holtzman v.

Turza, 08 C 2014, 2009 U.S. Dist. LEXIS 95620 (N.D.Ill., Oct. 14, 2009), affd in relevant part,

728 F.3d 682 (71h Cir. 2013); Sadowski v. Medi Online, LLC, 07 C 2973, 2008 U.S. Dist. LEXIS

41766 (N.D.Ill., May 27, 2008); CE Design Ltd. v Cy's Crabhouse North, Inc., 259 F.R.D. 135

(N.D.Ill. 2009); Targin Sign Sys. v Preferred Chiropractic Ctr., Ltd., 679 F. Supp. 2d 894

(N.D.111. 2010); Garrell v. Ragle Dental Lab, Inc., 10 C 1315, 2010 U.S. Dist. LEXIS 108339,


                                                   7
   Case: 1:16-cv-06654 Document #: 34 Filed: 08/26/16 Page 8 of 11 PageID #:255




2010 WL 4074379 (N.D.Ill., Oct. 12, 2010); Hinman v. M & M Rental Ctr., 545 F.Supp. 2d 802

(N.D.Ill. 2008); Clearbrook v. Roojlifters, LLC, 08 C 3276, 2010 U.S. Dist. LEXIS 72902 (N.D.

Ill. July 20, 2010) (Cox, M.J.); G.M Sign, Inc. v. Group C Communs., Inc., 08 C 4521, 2010

U.S. Dist. LEXIS 17843 (N.D. Ill. Feb. 25, 2010); Kavu, Inc. v. Omnipak Corp., 246 F.R.D. 642

(W.D.Wash. 2007); Display South, Inc. v. Express Computer Supply, Inc., 961 So.2d 451, 455

(La. App. 1s1 Cir. 2007); Display South, Inc. v. Graphics House Sports Promotions, Inc., 992 So.

2d 510 (La. App. ls1Cir. 2008); Lampkin v. GGH, Inc., 146 P.3d 847 (Ok. App. 2006); ES!

Ergonomic Solutions, LLC v. United Artists Theatre Circuit, Inc., 203 Ariz. (App.) 94, 50 P.3d

844 (2002); Core Funding Group, LLC v. Young, 792 N.E.2d 547 (Ind.App. 2003); Critchfield

Physical Therapy v. Taranto Group, Inc., 293 Kan. 285; 263 P.3d 767 (2011); Karen S. Little,

L.L.C. v. Drwy Inns. Inc., 306 S.W.3d 577 (Mo. App. 2010).

       47.     Management of this class action is likely to present significantly fewer difficulties

that those presented in many class actions, e.g. for securities fraud.

               WHEREFORE, plaintiff requests that the Court enter judgment in favor of

plaintiff and the class and against defendant for:

               a.      Actual damages;

               b.      Statutory damages;

               c.      An injunction against the further transmission of unsolicited fax

                       advertising;

               d.      Costs of suit;

               e.      Such other or further relief as the Court deems just and proper.




                                                     8
  Case: 1:16-cv-06654 Document #: 34 Filed: 08/26/16 Page 9 of 11 PageID #:256




                                     Isl Daniel A. Edelman
                                     Daniel A. Edelman




Daniel A. Edelman
Cathleen M. Combs
James 0. Lattumer
Dulijaza Clark
EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
20 S. Clark Street, Suite 1500
Chicago, Illinois 60603
(312) 739-4200
(312) 419-0379 (FAX)




                                        9
   Case: 1:16-cv-06654 Document #: 34 Filed: 08/26/16 Page 10 of 11 PageID #:257




                                  NOTICE OF LIEN AND ASSIGNMENT

              Please be advised that we claim a lien upon any recovery herein for 1/3 or such
amount as a court awards. All rights relating to attorney's fees have been assigned to counsel.



                                                       Isl Daniel A. Edelman
                                                       Daniel A. Edelman


Daniel A. Edelman
EDELMAN, COMBS, LATTURNER
       & GOODWIN, LLC
20 S. Clark Street, Suite 1500
Chicago, Illinois 60603
(312) 739-4200
(312) 419-0379 (FAX)

T:\32876\Pleading\2d Amended Complaint_Pleading. WPD




                                                         10
   Case: 1:16-cv-06654 Document #: 34 Filed: 08/26/16 Page 11 of 11 PageID #:258




                                CERTIFICATE OF SERVICE

        I, Dulijaza Clark, hereby certify that on August 26, 2016, I caused a true and accurate
copy of the foregoing document to be electronically filed with the Clerk of the United States
District for the Northern District of Illinois by filing through the CM/ECF system, which served a
copy upon all counsel of record.



                                                     /s/ Dulijaza Clark
                                                     Dulijaza (Julie) Clark




Daniel A. Edelman
Cathleen M. Combs
James 0. Latturner
Dulijaza Clark
EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
20 South Clark Street, Suite 1500
Chicago, Illinois 60603
(312) 739-4200
(312) 419-0379 (FAX)




                                                11
